









Petition for Writ of Mandamus Denied and Opinion filed December 5, 2002









Petition for Writ of Prohibition Denied and Opinion
filed December 5, 2002.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

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&nbsp;

NO. 14-02-01160-CV

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&nbsp;

IN RE JOHN HATTON, Relator

&nbsp;

&nbsp;



&nbsp;

ORIGINAL
PROCEEDING

WRIT
OF PROHIBITION

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&nbsp;

O P I N I O N

On November 12, 2002, relator
filed a petition for writ of prohibition in this Court.&nbsp; See Tex.
Gov=t. Code Ann. ' 22.221 (Vernon Supp. 2002);&nbsp; see also
Tex. R. App. P. 52.&nbsp; Relator also filed
a motion for emergency stay.

We deny relator=s petition and motion for emergency
stay.

&nbsp;

&nbsp;

PER CURIAM

&nbsp;

&nbsp;

Petition Denied
and Opinion filed December 5, 2002.

Panel consists of
Justices Edelman, Seymore and Guzman.

Do Not Publish ‑ Tex. R. App. P. 47.3(b).





